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APPENDIX I
TAB M

 
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Sheila Harkins 4/12/05
—— SHEET 2 PAGE 1 —— PAGE 3
e001 00003
1 IN THE UNITED STATES DISTRICT COURT 1 STIPULATION
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA 2 It is hereby stipulated by and between the
2 ee 3 respective parties that sealing, certification and filing
TAMMY KITZMILLER, et al., 4 are waived; and that all objections except as to the form
3 . 5 of the question are reserved until the time of trial,
Plaintiffs .  CIVIE ACTION NO, 04-CV¥-2688 6
4 7 SHEILA HARKINS, called as a witness, being duly
WS. 8 SwcIn, Was examined and testified, as follows:
5 . 9 BY MR. LOWE:
é Sover Area School District,.  {JUBGE JONES} 10 0. = Good morning.
7 et al., 1L A. Sood morning.
a 12 9, 1 have introduced myself off the record. I would like
9 Defendants : 13 to --
Wo... 14 a. I don't remenber your name. I am sorry.
12 Deposition of : SHEILA BARRENS 15 0. My name ig Chris Bowe,
12 Taken by : Plaintiffs 16 & Chris, Sheila Harkins.
13 Date > April 12, 2005, 10:00 a.m, 17 9 I am from Pepper Hamilton, and I represent the
14 before > Vicki L, ox, RR, 18 plaintiffs in this case.
15 Reporter-Notary 19 Would you please say and spell your name for the
16 Place : 200 One Keystone Plaza Z record?
1? North Front and Market Streets 21 §-h-e-1-l-a, Sheila, Sarking, H-a-r-k-i-n-s.
18 Harrisburg, Pennsylvania 22.9. Now as 1 understand it, you have recently been deposed
19 APPEARANCES : 23 in this matter; is that correct?
20 PEPPER FANILTON, LLP 24 Well, not real recently. It was maybe two months ago.
21 BY: CHRISTOPHER LOWE, ESQUIRE 25 9. Was it January I believe?
2 For - Slaintifis
23 THOMAS MCRE LA CENTER
24 BY: PATRICK T. GILLEN, BSQUIRE
25 For - Deferdants
—_ PAGE 2 ~~ PAGE 4
abdde 06004
1 INDEX 1 A, Yes,
2 WITNESS 2°09. Correct me if I am wrona.
3 SHEILA HARKINS Examination 3 A. Feah,
4 4 0. We are kere today, and I an going to ask you some
By Mr. Lowe 3 5 questions at the beginning that are going to be
5 6 repetitive of last time. This is so that we have the
6 7 record straight.
7 a Onee we get into the deposition itself, 1 am going
8 9 to try to stay away from questions that will appear
5 EXHIBITS 10 repatitive to you.
1g (None marked.) li Let me know if I am getting into @ line of
ll tebe 12 guestioning -- 1 am sure that Pat will alse let me know
12 13 -- I see you are represented by counsel here today. if
3 14 IT gat inte a line of questioning that seems overly
4 16 repetitive, feel free to let me know.
15 16 I have reviewed your last deposition. It is
i6 17 possible I may start going into areas just without
i 18 remembering that those areas have already been explored,
4 19 You can feel free to let me know.
ig 20 In some instances, it may be because 1 plan to
2¢ 2 Lake it down just a different avenue than where it had
21 22 gone last tine. It might be to get a little bit of
22 23 backaround. [n most cases, I will probably just stop
23 ad that Lice of questioning there.
24 25 A. Wow I feel bad im that | didn't review my last
25
J

 

 

 

 
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—— SHEET 2 PAGE § —— PAGE 7

00005 00007
i deposition. i comes to the transcript when we look at it later,
2 Q. That was going to be my first question. 2 AL Thank you very much. And T tend Lo interrupt so please
3.°4. I am sorry. 3 stop me Crom doing that.
4 Q,. That's okay, That certainly is not an obligation of 4 Q. Fairy enough. Once again, Vicki will probably stop you
5 yours at all, 4 before I get a chance. I understand that you were
6 With that in mind because this is on the record, 6 deposed before. You have already stated this so let's
7 you have heard this before, and I'm going to go through 7 get it for the record.
8 it again, it is going to be important that you answer 8 Have you reviewed your previous deposition
j questions verbally, 9 testimony?
10 A. Yes. 10 4. = No, I have net.
11 9. ‘That means with a yes cr no. Even when I go through 1i 9. booking back to your previous deposition, are there any
12 these instructions, although you are going to be looking 12 answers that you gave at that time oz any explanations
13 right at me and it is clear to me that you kave heard 13 that you gave that since then you feel you need to
14 me, I may ask you to say either yes or aa just to 14 change or to clarity?
15 clarify your understanding of these instructions. 15 A. 1 reviewed my deposition immediately afterwards and made
14 Ig that clear? lé a few changes. I have not looked at it since. So I'm
17 A. Yes, And slow down for me, also, My mind doesn't work 7 not aware of what I even said at the time,
id that fast. 18 Q. Okay.
19 Q. There's my first procedural direction is that 1 do tend 19 A. Or what those changes were.
20 ta speak quickly. And if at any time I am speaking too 20 9 We will assume thet those changes were made. And, of
21 quickly, Vicki will probably stop me. But if Vicki at course, you are going to review Chis deposition before
22 doesn't, you can feel free to. Just ask me to slow 22 we see it at any rate.
23 dow, 23 Between the past deposition and this deposition,
24 Over the course of the morning, } am sure 1 will z4 did you do anything to prepare?
26 naturally slow down, but there will he other times I may 25 A, 1 talked to Pat last evening.

—— FAGE 6 —— PAGE 8

00006 0008

1 start to speed up naturally as well. Just let me xnow. 1 Q. Approximately how long did you calk with Pat?
2 IZ I ask any questions that seem imprecise or 2 A. Less than an hour.
3 unclear, let me know that as well. By the same token, 3.0. Did you talk to anyone else about this deposition?
4 if any of your answers seem to be a little unclear to 4A. My husband knew I was coming.
5 me, I may ask you to repeat or rephrase. Most likely 5 0. Other than your spouse, have you had conversations with
6 that will be becauge my question was less tkan precige. 6 anyone that is not a party to this?
7 But either way, if we could have an open line of 7 A. Bxcuse me?
8 communication. 8 9, ave you had conversations with anyone else that is not
9 AL Thank you. 9 a party to this action?
WW g Is that clear? Are you on any medications, or have you 10 A. No.
11 taken any medication, or do you have any disabilities 11 Q. About this deposition?
12 that would affect your perception today? 12 2. No.
13° A. ~~ Not to my knowledge. 13 9. I am going to start asking some questions about the
14 Q. Okay. And in the past, let's say go back two years. In 14 resolution that was passed recently or passed this past
15 the pagt two years, have you taken any medication or 15 year for enriching the Dover biology curriculum.
16 suffered any handicaps that may affect your perception 16 Before you voted to pass the resolution, did you
7 or memory? 17 conduct any research involving --
18 A. Not to my knowledge. 18 2. If you are talking --
19 Q. Great. So that the transcript is clear, I am going to 19 MR. GILLZN: Please let Chris finish his question.
2 algo ask that you try to wait until I finish my 20 4. lam sorry. I thought he was finished. 1 apologize.
23 questions. I tend to pause on occasion during 21 ME. GILLZN: That is all right. Forgive ne,
a sentences, but at the same time, generally I will held 22 Sheila.
23 my pauses until I have completed the question. If you 23 A. I thought he was finished. I apologize.
24 give me a couple of seconds after you think the question 24 BY MR, LOWE:
25 ig done, that will make it a lot more clear when it 25 Q. And i did pause. Did you conduct any research involving

 

 

 

 

 
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1 90013 1 00015

2 1 A. i believe it was in early spring, April about. 2 1 that you are not entirely clear on what the date of

j 2 Q. And you mentioned some meetings you had with teachers 3 2 these meetings was?

4 3 prior to the June Board meeting, How many meetings did gi} 4 3 AL Mo.

5 4 you attend with teachers with respect to Intelligent 5 4 Q. Let's go to the first time that you met with the

6 5 Basign and/or the biclogy curriculum? 6 5 teachers with respect to the change or the potential

7 6 A. I'mnot sure. ! can recall at least two, maybe three indi 7 6 change in the biology curriculum.

4 3 the spring. 8 7 Do you recall whether that was at the end of the

9 8 Q. Do you recall who else was in attendance at those 9 8 winter or the beginning of the spring?
ig 4 meetings? 10 9 It was in the spring.

11 10 A. = Which teachers you are asking? 11 10 G. We will continue to try and place it, Do you remember
2 11 Q. We can start with the teachers, sure. 12 il approximately what month it was perhaps, before or after
13 12 4. Bert Spahr, Jen Miller, Rob Eshbach. Those were the 13 ld Easter break, spring break?

i 13 teachers, ld 13° A. «= T believe it was after faster, but I believe it was

5 lt Q Okay. 15 id before the end of school. I'm sura it was.

16 15 3. The administration was Mike Baksa. I believe, I’muct ff |i6 15 Q. You had earlier mentioned Ms, Spahr, Ms, Miller and

1] 16 sure if one or both it was Joel Reidel and our new VV lé Mr. Eshbach as the science teachers in attendance?

18 lV Assistant Principal Shane Miller, I'm not sure of him. 1d 17 A. Yes.

19 18 Board members, it was I believe myseif, Bill 19 18 0. To save us some time, were these the same science

20 19 Buckingham, and I believe one of them Alan Bongell was ff |20 19 teachers in attendance at each of the meetings?

22 20 at. I'm trying -- I am visually trying in my mind to go—|21 20 A, Ido not believe Mr. Eshbach was at one of then. I’m

22 21 around the table. 22 21 not sure of that though.

2 22 Q. Your memory is better than mine. By the end of this 23 22 9, Okay. At this first meeting, do you remember whether or
24 23 week, I won't remember who was sitting at this table. 24 23 not Mr. Eshbach wag there?

oad Let's take a look back at those meetings. I am going te—!25 24 A, I believe he vas.

26 25 take them one at a time, and we are going to take a few ff (26 25 9. and which administrators do you recall being at that
PAGE 14 —_ PAGE 16

1 00014 1 0015

2 1 seconds just to see what it was that was discussed at 2 1 first meeting?

} 2 those meetings, what your recollection was. 3 2. | heliewe Mike Batga was at at least both of the

A 3A. Do you have particular dates for which meetings? 4 3 meetings. I am not sure if Br. Nilsen was or not. And

5 4 Q.  Iamactually going to be asking you if you recal) theseml | 5 4 if you want to include the principals, I'm not real

6 5 meetings, I am going to take them chronologically firatilt 4 5 positive -- do you know what I vean? I am locking

7 6 to last. If you can remember a date, that would be ] 6 around ic my mind, and I'm not sure if the high schcel

4 7 great. We will try to help you narrow it down to a 8 1 principals were there or net.

9 8 certain month, season if necessary, whatever it is you 9 8 Q. when I am speaking administration, generally speaking 1
10 § are going to be remember is fine. 10 9 will be referring to either the administrators such as
11 = it AL st would help me more if you could give me dates and i or Superintendent or Assistant Superintendent or the
2 6 maybe I could recollect. 12 ll Principals or Vice-Principals.

13 ig I don't have the dates. Otherwise -- 13 i2 4 Yas,

id 1} A. Okay. la 1} Q. What about members of the School Board other than

is 14 Q, «=~ s So that you understand, we are not trying to -- 1 am 56 4M yourself at this school meeting?

6 © trying to learn your story. I am actually not trying tof 16 15 A. Bill Buckingham and I am not sure about Alan. We were
7 46 cheek your memory. 7 O16 the curriculum committee, Casey Brown was on the

18 17 A. I thought maybe you could jog my memory more if you had #18 = 17 curriculum, Alan Bongell was Board President. Casey
OU information and said well, what about this date, Okay? 1? 18 Brown wag also on the curriculum committee, and she

20 19 Q. Wo, this is the first I heard of the meetings that you ff /20 Wy chose not to come.

2120 have attended so I am just going to explore it, 22-20 )~— Do you recall what was discussed with respect to the

2 21 4. Okay. 22 21 biology curriculum at that meeting?

23. 22-«Q.~—sThat’s okay. I will try and jog your memory by way of 9/23 22 A. We discussed the possibilities of the changes adding
4 BB questions, 2433 gaps and problems of Darwin's Theory of Evolution. We
a5 oad A, Okay. 2 64 discussed the Miller-Levin textbook.

26 25 Q. Iwill try and help you pinpoint the date, I understand 260625 Q, «= At this first meeting, did the teachers share their

 

 

 

 
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1 69017 1 00019
2 l understanding of the proposed changes? Let me rephrase fj} 2 iA. © Can T say all the same except as?
3 2 that, 3 2 Q. You certainly can,
4 j At this meeting, did the teachers share any 4 3 4, Ail the same except I do not believe Rob Eshbach was
5 4 concerns with the potential change to the biology 5 4 there, One of them was missing. Either it was Jen
6 5 curriculum? 65 5 Miller or Rob Eshbach. I'm oot sure which one. One of
7 6 MR. GILLEN: Objection to the form. 7 é the two was not there. It may have been Jen.
8 7 HE. LOWE: Could you explain? a 7 Q. Which administrators do you recall baing at the second
3 8 ME. GILLEN: Sure. 1 don't believe she mentioned ff] 9 8 meeting?
10 j that the changes to the biology curriculum vere 10 9 A. believe Mike Baksa was there, and I am not sure about
lid mentioned at this meeting. in 1 the high school principals. Sut they were very quiet
12 11 BY HR. LOWE: ll through the whole meeting if they were there.
3 12 9. Were changes -- were potential changes to the curriculum |i3 12 9. And with respect to the School Board, what other members
14 3 mentioned at this meeting? 14 13 than yourself were there?
15 14 A. I believe it was discussed, yes. 19 14 A. Bill Buckingham and Alaa Bonsell,
16 «6 1S. ~~ With respect to the potential changes or with respect el 16 15 Q. With respect to Intelligent Design, was Intelligent
16 the problems that were addressed with Darwin's Theory? {17 16 Design discussed at this second mesting?
18 17 A. No, they seemed very supportive and didn't seem to fave 418 917 A. Yes.
yp 2B a problem with it. They then said they would like to go 19 18 ©. Do you remember the nature of these discussions?
2 4 back and discuss how they might change the curriculum 2G 18 A. That is when the teachers I felt made us aware that they
212d ard give us their suggestion of wording of the 2120 were no longer supportive of including it.
22 21 curriculum changes. But che meeting came out in a very fj [22 21 Q. De you remember which teachers spoke about their
2 positive light. 20 concerns at this meeting?
24 23.9, Was there any mention of Jatelligent Design at this 244-23 «A, Ss Bart Spahr.
2 a4 meeting? 25 24 9, Do you remember what it was she said?
26 25 &, Yes, 26 25 A. Tam trying to recollect, I don't recall her words |
—. PAGE 18 —— PAGE 26
i G00 1 90020
2 1 Q. Do you recall the context in which Intelligent Design 2 1 anymore, It was just that she wasn't supportive of
3 2 was brought up? 3 2 including Intelligent Design.
4 3A. dust generally. 4 3. Did any of the other teachars address this at that
5 4 Q. Was Intelligent Design brought up as a possible 5 4 meeting?
6 5 alternative to Evolution at this time? 6 5 A. Not that 1 can recall.
7 6 A, No, aever, 7 6 Q. Did you personally get a chance to respond to Mrs.
§ 7 Q. Was Intelligent Design brought up as something that A 7 Spakr's concerns?
4 8 would be introduced to students at this tine? y 4 oA. I didn't at the time feel they were strong concerns of
10 9 A, Introduced as being made ayare of. ig 5 hers, just that she wasn't that supportive of it.
11 WU Q. Ware the teachers at this time told that students may 11 10 . Did anyone at the meeting, either aduinistrators or the
wool be -- that Intelligent Design might be something that 2 ol Board, respond in any vay to Mrs. Spahr's concerns at
B the students would be made aware of? 13 2 that time?
14 «13 AL Bo consider it I believe. 14-13 AL Ss don't. remember,
15 4 Q. Was a textbook of Of Pandas and People brought up at 15 4 0. ‘You stated that the first meeting felt -- and correct me
le 45 this meeting? 6 5 af I am wrong -- felt like it was relatively supportive,
17 «16 A.) ONo, Not that I recall. os and you left there with a feeling of support?
18 17? Q. Moving ahead to the second meeting. 1 17 A. I felt the first meeting went very well,
19 1g a. Yes, 19 18 Q,. Did you leave the second meeting with the same feeling?
20 «19. Approximately how mich later in the school year was thatff [26 19 A. No, not the supportive.
ai ad meeting? 21-26 «Gs You said that the science teachers‘ concerns didn't seem
22 QL A, Within a month, a2 ol that great to you at this time?
23 22 Q. Can we just run through who wag in attendance at this 23 22 oR. Yes.
4 meeting starting with the teachers? 24 = 23 «Q, «=~ s Does that help you te recall at ali vhat it was that
25 24 a. All the same names? 282d specifically was said or even generally said by Mrs.
26025. Mes, 26025 Spanr?

 

 

 

 
 

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° Sheila Harkins 4/12/05
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t 00021 1 00023
2 1 &. It was the fizst time I had heard any somewhat negative B| 2 1 9. Were there any specifics shared as to how the teachers
3 2 comment made. The first meeting was very working, how 3 Z would make these students aware or how these gaps in the
e 4 3 can we fake this work. And I felt Bert came to the 4 3 Theory of Evolution would be taught?
5 4 second meeting not totally supportive any longer, 5 4A, Mo, not at all. That wasn't our role.
6 5 Q. But you can’t recall what it was she said that gave you ff] 6 5 9. Do you recall then how Intelligent Design came inte the
7 6 that feeling? 7 6 conversation at that time?
8 7 AL Wot exactly. It bad something to do negative with a 7 4A.  T believe one of the theories thet they wanted to make
4 8 Inteiligent Design, but it wasn't -- I can't recall what} 9 4 sure was presented because it was the only other theory
@ 1 9 she said, and it was very brief, 1g 9 they knew of which was Intelligent Design.
11 «6-10. ~—sDid anyene else share concerns at that meeting? 1 20 Q. Who is they?
12 11 AL Mot that I recall. 12 1L A, Hither Alan or Bill. And I believe when we came up with
130 -12-«Q. ~~ Pollowing that meeting, did you in any way research 2 the wording, the teachers were supportive of the entire
i li these concerns or furtaer investigate these concerns of {14 13 change in presenting other theories. Saying other
bold Ms. Spahr? 6 i theories would be presented, but they did not want the
® 16 «=o 15 ALON, Because 1 didn't feel her concerns were that strong. jlé 15 word -- Bert Spahr did not want the words Intelligent
VV 16 @. Are you aware of whether anyone else investigated these J {17 16 Design included.
igo concerns, afyone else from the School Scard or the 18 = 17-9, ~—sODe you recall anything else that occurred in that
19 og administration? 1 628 meeting with respect to the change in Svelution -- the
2000 19 A, ON, I'm not. 2 01 change rather in the biology curriculum?
@ 7 20 9, Did you discuss these concerns with either members of 21 20, «A. That is all we were discussing and the Willer-Levin
220021 the administration or the School Board after this wo book,
2300«OoR meeting? zi 022. =~ What was discussed with respect to the book at that
24 933 A, No, because 1 really -- I might have had concerns about $424 9 23 time?
25d something, but it's act great concerns. So I didn't, 25 24 A. Just reviewing it, and if anyone had any problems with
26 25 nd. 26 25 it.
e —. PAGE 22 — PAGE 24
i 00022 1 00024
2 1 Q. Bo you recall what it was that either the administration#l | 2 1 9, Were any problems with the text shared at that point?
j d or the Board shared with the teachers during the second ff} ! 2 4, No, not really, Wot that I recall.
4 3 meeting with respect -- 4 3 9. Was the possibility of another text or supplemental text
e 5 4 4k. Excuse me, 5 4 brought up at this meeting?
6 5 @, Do you recall what the administration or the School 6 5 A. Yes. The teachers had reviewed another textbook, ard
7 6 Board shared with the teachers with respect to 3 § they had it there. It might have been at the first
8 7 Intelligent Design at that meeting? a 7 meeting.
9 8 A. I'm trying to recall other than the wording of what was fj 9 8 9, Had Of Pandas and People been brought up at this point?
RO 4 made in the resolution -- 1 9 4, Neo, I don't know if anyone knew Of Pandas and People
e il 10 Q. And please -- it 10 existed at that time.
12 «oll AL -- for the curriculum change. 12 = 13, ~— We're going to move forward to the third meeting. Do
4 2 Q. Let me see if | can piece this together. It may save Bb 22 you recall the people in attendance at the third
4 3 some time. Correct me if 1 am saying anything that 4 2B meeting?
13 & doesn't match your recollection. 1S 4 A, JT amnot real clear on the third. I am not sure there
4 oS But at this time, I take it that this meeting was B16 15 was a third. That meeting doesn't -- you know, I’m not
© 1? 16 -- at this meeting, you had a proposed message that 1 16 clear on the third meeting.
18 YW would be read to the students? if 17 Q. So it is possible that the last meeting you had -- the
19 «18 A. OM, not at all. OB last private meeting you had with the teachers with
20 «19 0. ~~ What did you come to this meeting with? 206 OY respect to the change in the biology curriculum occurred
21 20 A. It was very brief and short, which was the curriculun 2200 late in the spring?
e 2 21 change. That's all we were discussing. 23 21 4, Yes,
3 22 4. ‘What was the curriculum chenge at that tine? 23 22 Q. Prior te the summer -- prior to the Jone meating?
2 23 «AL The Students would be made aware of gaps and problems inff/24 23 A. Yes. There nay have been a third meeting, but I can't
25d Darwin's Theory of Evolution, and taat they would be 2 24 visualize it in my mind.
26 25 made aware of other theories. 26 ©6025, )~s Then J won't ask any questions about it. We won't get i

 

 

 

 

 

 

 
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Sheila Harkins 4/12/05
—~ SHEET 7 PAGE 25 -— PAGE 27
i G0025 1 00027
2 1 too far. 2 1 with attorneys that represent you im any way. That
3 2 A. Pat didn't kick me yet. 3 2 would be privileged. If I start to go down that road, I
4 3 MR. GILLEN: That would be improper, and therefore | 4 j can promise you Pat wili be very quick to let me know
5 4 Twill not be kicking you. 5 4 and to let you know. Those are off the record. I don't
6 5 BY ME. LOWE: 6 5 have a right to those conversations.
7 6 9. Did you at any time discuss with either the 7 6 AL Chay,
3 7 administrators or other members of the Board the 8 7 Q. You can, of course, tell me if you want, but that is not
9 4 concerns that Ms. Spahr had shared with you in the y § why I am here. And I am not curious about those.
10 9 second meeting? 10 3 Other than I may ask questions about who was in
il so 10 A. Excuse me? i WW attendance, but I don't want information about either
12 IL Qs Td you at any time either prior to or after the June 2 ll conversations you had with your attorneys or
13 2 Board meeting discuss with any of the members of the 3 R conversations you had with other defendants in this case
4 School Board or with any members of the administration ffi 3 about what your attorneys said to you or what they
15 og the concerns that Ms. Spahr had shared with you during ff |? M4 discussed with you. Okay?
ee 2 the meetings you had with the staff? 16 15 A, Okay. Yes.
17 «16 A. ONO. «I believe at the dune meeting is when Bert Spahr W 1g Q, At this point, you have expressed that you did some
a OL herself made the statement that she did not support the [124 i Internet researca, that you don't recall specifically
19 og Intelligent Design phrase. That was the first time I 1918 what it was you looked at. Other than that, at any time
2 19 became aware that she was opposed to the Intelligent 2) 1$ did you conduct any more research with respect ta
aid Design statement in the resolution. Is that clear? 21 ad Intelligent Design?
22 21 9. ‘believe so. It ig a little bit inconsistent. Earlier[f |22 21 A. «Not that I recall.
200} you had said that she had stated some concerns with it? [[|23 22 Q. At any time, did any member of the School Board or the
24023 AL Right. 4 3 administration or of the general public come to educate
25 24 Q. Is the difference at this meeting that she made her 25 you ag to Intelligent Design?
265 concerns much stronger; you understood at this point 26 25 &. I believe there were several people who talked at the
_. PAGE 26 —— PAGE 24
1 90025 1 00028
2 1 that they were strong concerns and not just mild 2 1 Scho] doard meetings.
3 2 questions, moderate questions? 3 2 Q. Aside from people that perhaps got up during public
4 3 A. Yes, that's correct. 4 3 discussion at the School Board meetings, did the Board
5 4 @. Did you investigate her concerns after the June meeting? 9} 5 4 aver bring anyone in to discuss with you quys what
6 5 A. NO. IT ean't say i did. 5 5 Intelligent Design was, or did the School Board itself
? 6 Q. Are you aware of whether other members of the School 7 6 as @ group ever get together to discuss Intelligent
8 7 Board took the time to investigate Ms. Spahr's concerns Bt & 7 Design?
9 § with respect to including Intelligent Design? y § A. No, not that I recall.
19 $9 3. No, I'm not, 10 99. Is it your understanding that the research that was done
ll 10 Q. Did you as a Board discuss Ms, Spahr's concerns with 11 10 by the School Board members with respect to Intelligent
2 ll respect to Intelligent Design? 1 ll Design was done on an independent nature?
3 12,4. = No, we didn't, 3 12 A. Yes, that ig correct.
14 72.) Are you aware of whether any of the Board members i413. Q. ss it also your understanding -- and, again, I am just
ub 064 discussed either with each other or with the is id asking for your understanding -- that what the
OS administration Mrs. Spahr’s concerns? 16 | o5 administration then did as well with respect to
VV 16 A. No, I'm not, li 16 Intelligent Design was done on their own independently?
18 «17 Q. Are you aware of whether or net any of the School Hoard 9/19 17 4A. ‘That's my understanding, Pat is writing an awful lot of
id og members further investigated Ms. Spahr’s concerns? 19 «2B notes.
20 19 A I don't know, no. 26 19 MR. GILLEN: It's a habit,
ai 20 Q. Did you personally discuss Ms. Spahr's concerns after al 20 MR. LOWE: And he is going to get everything in
2 11 this June meeting with anyone? 22. «a print at the end of this,
23. «22 AL L believe I discussed it with our school counsel. 23. «22s BY BR, LOWE:
24 23.9. So that you understand when I am asking you questicns 24 230. At any time, were you presented with materials with
25 a4 about discussions that you have had about anything 2 24 respect to Intelligent Design by members of the Board?
26 25 today, I am not referring to discussions that you had 26 25 A. = Not that I recali.

 

 

 

 

 

 
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Sheila Harkins 4/12/05
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1 40029 1 0¢031
2 1 Q. Were you presented with any materials from meubers of 2 1 Q. Are you aware of any member of the administration
} 2 the administration? j 2 reaching out to any of these scientific organizations
4 3 A. I may have been, but I don't recall any. And if I would] 4 j for information on Intelligent Design?

5 4 have been, they would have given it to you. 5 4 4, Not that I'm aware of,

6 5 Q. Sure, 6 5 Q. Is it your understanding that Inte2ligent Design is in

7 6 A. I think they gave you copies of what was included in ourf| 7 § fact sound science or good science?

a 7 Board packets, but I don't keep this stuff so I don't 7 AL Yes,

4 3 know that. g 8 9. Is it your understanding that Intelligent Design is a
1 3 Q.  Tunderstand that. One reason we go down this avenue offf |10 3 scientific theory?

1 62 questions is because we realize that both with the 1 Wa Yes,

12 11 defendants, as well as with the plaintiffs, sometimes 12 11 Q. How did you come to this understanding that Intelligent
3 12 these questions can just spark memories the way we ask f[J112 12 Design was sound science?

uo or, just something that has occurred can help you recallfil4 13 A.  T read different things, saw different things, and it
15 14 something that you didn't remember before, That is why jl5 14 sounded like sound science to me.

lb 2B I am going through this. 16 15 Q. When you are referring to things that you read and saw,
1) ok I am confident we have received everything you 7 16 you ara referring specifically to what you had seen on
0? guys have turned over. I am also confident at the time #18 17 websites?

19 18 you tured it over, you turned over everything you 19 18 A. Yes,

2019 remembered that was relevant to this case. I just might}20 19 Q. At this time, de you recall anything else?

21020 be exploring a few avenues just to make sure that since B/2: 20 A. Mo, they were written by -- some of them by credible

220 (al that time, you don't recall anything, 22 21 biologists, people that sounded lixe they were credible
23 «22 AL Okay.. 23 22 biologists.

244023 MR. LOWE: Pat, we don't have that much more. 24 «23. =~ You hava touched on my mext question. How is it that
25 24 MR. GILLEN: That's fine. Q£f the record, 25 24 you determined that these people were, first of all,

2% 25 (An off-the-record discussion was had.] 26 85 biologists?

— PAGE 30 —— PAGE 32

1 00036 1 00032

2 l (A recess was taken.) 2 1 A. Because the website said they were biologists. Whether

3 2 AFTER RECESS j 2 chey were cr not, I don't know that, If is just what

4 q BY MR. LOWE: 3 they claimed to be, and they had background information

5 4 Q. Did you ever participate in discussions with members of ff] 5 4 on themselves.

6 5 the School Board in which you described your 6 5 9. Did you go bayond the website to research whether any of

1 6 understanding of Intelligent Design? 7 these individuals were biclogists?

§ PAR No. 8 Toa, fo?

q & Q. And did you ever participate in discussions with members | 9 8 9. You are on a website put together by Mr. Gillen, and he
10 9 of the Schoo] Board in which they shared with you their ff /10 3 explains hig background. Did you go beyond that website
ll 10 understanding of Intelligent Design? 1 10 to see whether or not what he said about himself was in
2 ll A. No. nh dh fact accurate or true?

B I2 Q. To your knowledge, did any of the members of the Board, #313 12 A. Thad on -- I don't remember the names, but one or two I
Mo yourself included, make any phone calls to any uw OB just put in their names,

15 14 scientific organisations with respect to Intelligent 15 14 Q, When you say put in their names, you mean --

i ob Dasign? 16 «615 A. Google.

YW 16 A. Could you read the question again? WV 1é 9. Do you recall what you got hack when you Googled their
1¢ 17 Q. Sure. Maybe I will be more specific. To the best of if ly names?

19a your knowledge, did either you or any of the members of 9/19 18 A. No, E don't exactly, No.

2 19 the School Board make any phone calls or discuss 20 «6-19 Q. = Google is wonderful; isn't it? Did you go further than
210 Intelligent Design with any scientific organizations? 21 26 just Googling their names?

220 ol And I will give you @ couple of different 22 21 A.) L might have hit one or two of them. In Google, you

2300 2} scientific organizations suck as the American 23.22 read what it says, and I may have hit one or two.
a3 Association for the Advancement of Science or the 24 23-9. «Do you recall any of these names?

25 od American Federation of Biology Teachers. 7 24 4. I'm sorry.

26 «25 A. © Not that I'm aware of. 26 25 0. ‘That's okay. Do you recall what any of these second

 

 

 

 

 

 

 

 
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Sheila Harkins 4/12/05
— SHEET $ PAGE 33 —— PAGE 35

1 00033 1 90035

2 1 level websites -- by that I mean the websites that you 2 1 Intelligent Design?

3 2 retrieved from Google when you entered these pecple's 3 2 A. Mo, but I would love to.

4 3 names, do you recall what any of those were? 4 3 Is it your understanding that Intelligent Design

5 4 No, I don't. 5 4 requires some consideration of supernatural action?

6 5 T am going to ask a couple of questions about your 6 5 A. Could you explain that further?

7 6 current understanding of Intelligent Design. 7 6 Sure. Do you understand that in order for one to accept

§ TOR Okay. 8 7 Intelligant Design, one needs to also accept that there

9 8 9. Ido realize in your prior deposition, you gave a 3 8 Was some supernatural actor or some supernatural action
19 9 definition of Intelligent Design. You also said at that{j 110 9 that took place, an action outside of what we would
11 ot time, this definition may change tomorrow. You admitted— :11 10 congider natural, an action cutside of what takes place
2 it that you were not comfortable giving it. Rh ou averyday?

1} 12 4. TE didn't even know I gave one. Boo MR. GILLEN: Objection to the form.

4H 613 MR. LOWE: Off the record. uw OU HR, LONE: Could you explain?

5 (an off-the-recerd discussion was had.) 15 odd MR. GILLEN: I think you are assuming she has an
16 45 BY MR. LOWE: 6 65 understanding, and I am not sure the question is clear
Vv 16 @. We are on page 74 of your prior deposition transcript. ffl? 16 to her,

wo} I am going to read to you what it is that you at that 18 «s 17:«A, ~~ That ig very true.

9 86418 time defined your understanding of Tatelligent Design tof 1? 18 BY MR. LOWE:

20 19 be. 20 19 Q. kay. Bo you understand what I mean by a supernatural
21 2g That every living cell possible -- 2120 being?

220 al OA. Where are we at? 22 2 ALON.

a4 22 MR. GILLEN: Right here, line 18, 23 22° Q. Or suparnatural action?

24 23° BY MR. LOWE: 2 23° A. «No, I do nat,

2 24/9.  LTamsorry, line 18, Answer: That every living celi 25 449, IE I ware to define supernatural as something outside of
2685 possibly is designed down to the tiniest organism. And [26 © 25 what ve see and perceive here on earth, outside of
__ *FAGE 34 —— PAGE 36

1 00034 1 90036

2 1 if it is designed, how it may have been designed if 2 1 people and animals and the natural things that we can

3 Z there was possibly a designer or something. 3 2 see or witness here on earth, would that help you to

4 1A, Okay. 1 didn't remember | said that, but that sounds 4 3 understand what I mean by supernatural?

5 4 pretty good, 5 4 4. No. f'n sorry. Repeat that.

§ 5 Q. At that time, you also were very open in sharing that 5 Q. Idon't know if I can,

7 6 your opinion as to what Intelligent Design was may 7 6 A. Maybe she could repeat it back.

§ 7 change as of tomorrow -- I am paraphrasing? § 7 Q. Do you want to repeat it for me, please?

g 8 Yes. 5 8 (The question, "If I were to define supernatural
10 9 Q. Has your understanding of Intelligent Design changed 10 9 as something outside of what we see and perceive here on
ll since that time? iol earth, outside of people and animals and the natural
a il No. Bb ou things that we can see or witness here oo earth, would
3 12 Q. Since the past deposition, have you bad further U 12 that help you to understand what J mean by
14 13 discussions with respect to Intelligent Design with “uo supernatural," was read by the reporter. |
15 14 members of the School Board? 15 144A. © Gee. I apologize. Would you read that again?

1 16 A. No. 16 45 (The question, "If 1 ware to define supernatural
17 «16 «@,)~=— Since your last deposition, have you had any further vy 46 as sonething outside of what we see and perceive here on
1 oO discussions about Intelligent Design with mambars of the jlé = 17 earth, outside of people and animals and the natural

9 og administration of Dover Area School District? 9 6B things that we can see or witness here on earth, would
2) 19 A. © Since my last deposition? 619 that help you to understand what I mean by supernatural
22 20 9. Since your last deposition in January. 2120 stand what I mean by supernatural," was read by the

22 21 4A. No. 2 (21 reporter.}

2222.) And since this past January or the date of your last 23.22 BY MR. LOWE:

24 23 deposition, it looks like it was the vary beginning of ff [24 23.9. How about if I rephrase it this way --

25 24 January, January 3rd, have you bad any discussions with ff [25 244A. I apologize.

26 25 members of the school staff, teachers with respect to 26 25 Q. It certainly is not your fault, believe me. Do you

 

 

 

 
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Sheila Harkins 4/12/05
~— SHEET 10 PAGE 37 ~—. PAGE 39
1 00037 1 90039
2 1 believe that something outside of what we can perceive 2 1 am going to spend just a couple of seconds to talk about
3 2 needs to take an action according to Intelligent Design? | 3 2 the donation of books in your School District.
4 304. Something? 4 JA. Chay. Do you want me to look at this anymore?
5 4 Q. Something, someone, 5 4 @, Nok at this time. I doubt we will get back to this.
6 5B. Excuse me? 6 5 And by this, she is referring to her own deposition, her
7 § HR. GILLEN: Objection to the form. Can we go offf} 7 6 previous deposition testimony.
4 7 the record? 8 1 Who is it that made the decision to accept the
g B MR, LOWE: Sure. 4 § donation Of Pandas and People?
it j (An off-the-record discussion was had.} 10 9 A, I believe the administration.
Ml 10 BY MR. LOWE: ll 1) 9. Did the Schoo Board or any committee of the School
12 44 Q, Ts it your understanding that Intelligent Design 2 oll Board review the books before they were accepted?
BR requires an acceptance of the fact that there is some 13 12 A, There had been discussion of the book Of Pandas prior.
t 13 intelligent designer? 14-13 Q, ~—sDo you re¢ali whe was involved with these discussions?
15 4 A. 1 would say an acceptance that there is -- that it ig 15 14 8, Tt was at the Board meeting.
16 45 designed by intelligence. 16 15 Q, Did you parsonally review these bocks before the
1? 16 Q. —-Bo you have any understanding of what this intelligence 9/1 16 donation was accepted?
a OY is? i WA Yes,
19 J@ A. No, 7 don't. i918) Q. =~ sDo you recall if any other members of the Board reviewed
200-199. ~~ Bo you think one needs an understanding of what this 29 O49 the books prior them being accepted?
zh 2g inte!ligence is in your opinion? i zl 20 A, © T don't know that.
22 21 A. Does one need? It is up to whether one does need. 22 al 9. Is it my understanding that recently, you accepted the
23.22 «9. «= To understand Intelligent Design, would one need aa 2300 Oo donations of a number of other textbooks that wera
4 2 understanding of what this designer is? 24003 donated by a group called Debunk Creation?
23 24 A. Only if one desired to know, 25 ad A. OA lot of those weren't textbooks.
26 28 Q, Would it be okay in your opinion for what the 26 «65g, ~—sLet me rephrase my question. Are you aware of some
—— PAGE 38 —— PAGE 40
1 90038 1 00045
2 1 intelligent designer was to ne explored in the public 2 1 books being donated by a group called Debunk Creation?
j 2 school setting? } 2 A. Yes,
4 3A, Would it be okay? 4 3, Was that donation handled in a different manner than the
5 49, Yas, in your opinion. 5 4 donation of the book Of Pandas and People?
6 5 A. I never crossed -- I never taought of that. 6 5 A. Oh, yes.
7 6 Q. In your opinion, would it be okay to discuss in the 7 & Q, In what ways was it handled differently?
8 7 pablic school setting what this intelligent designer a 7 A. Tey just showed up at the door.
j 8 was? 5 & §. When you say they just showed up at the door, could you
10 3 A, That was never considered, 10 9 elaborate?
lit MR. GILLEN: Object to the form, il 1G A. I think Dr. Nilsen got an e-mail from Debunk Creation
eB tl MR, LOWE: Could you explain? 12 ll saying they had a UPS slip that we got the books, if we
1 1 MR. GILLEN; Sure, I mean you are assuming she B LR accepted them or something like that. And he didn't
4 613 bad an opinion. “t 2B even know where the books were, That is incorrect
15 «14 «A. oT don't have an opinion. 5 14 English. It hurt my ears when I said it,
16 15 BY MR. LOWE: 16 15 9. It's okay. Do you know who received those books?
17-16 Q. =~ So you have no opinion as to whether or not the teachingg 117 16 A. They had a slip saying with some secretary's name. Then
a6) of what an intelligent designer is would be appropriate J/13 = 17 they were hunted dow. Is that what you are asking?
i 18 in the public schools? 19 «18 Q. Yes, I just wanted to know if you had personal
20 19 There was never any thought giver or consideration. 2063 knowledge whether they were sent to the School Board, I
21 20 Q. That is okay. 1 am asking if you were to give 28 am trying to pursue who it was sent to.
220 4d consideration to it at this moment. And itis fine to 9/22 21 A. I don't know who they were addressed to, bat I just know
23 22 say what you have already said, 23 22 one of the secretaries in the building signed the UPS
24 23° A, =: T don't have one. 24 23 slip.
25 24° Q. I am going to take a couple of minutes, and I am going ff [25 249. That's good enough, Other than the fact that they
2625 to actually step back from that topic this time, and I ff |26 25 showed up unannounced, was there any other way in which

 

 

 

 
 

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Sheila Harkins 4/12/05
—— SHEET 11 PAGE 41 —— PAGE 43
1 00041 1 00043
2 1 this donation was handled differently than the donation | 2 1 a. Yes,
j 2 of the textbook Of Pandas and People? 3 2 Q. You also said that some members of the Board -- and
4 3A. I don't know that. Is that what you are asking? Iam fj 4 3 again, correct ne if I am speaking incorrectly, Some
5 4 not sure what you are asking. 5 4 members of the Board were familiar with the textbook Of
6 5 Q. Iwill break that question down. Let's take a look at 6 5 Pandas and People?
7 6 how Of Pandas and People came into the School Board -- 7 6 A, Correct.
j 7 into the School District, 4 7 Q. What I am tryiag te piece together is whether members of
9 8 T take it they didn't just show up like these 9 8 the Board were familiar with Of Pandas and People prior
10 9 books, because you said it was different. In what way ff {tC 9 to the time they were donated to the school?
610 did Of Pandas and People come to the School District? 1 10 A Yes,
2 ll I'm not real sure. il @. And how is it that you are aware that people were
3 oR With respect to the School Board's actions regarding ij iQ familiar?
ld 1} these donated books, are you aware of any way in which ff /14 1} 4, = We looked at the book for a couple of months.
5 id the donation of the books from Debuak Creation was 15 14 Q. Do you know how books are typically handled when they
16 5 treated differently than was the donation of the book CER \1é 15 are donated to the School District?
17 og Pandas and People? 1} 16 MR. GILLEN: Objection to the form.
14 17 4, I knew some people on the Board wanted the Of Pandas 18 VV MR. LOWE: Can you explain?
9 «6B books, and no one had a clue about the Debunk Creation § /19 18 MR, GILLEN: Sure. It's assuming there is a
209 books coming. 20 19 typical way of handling donations, I am not sure there
21. «2G Q, = fo in what way was it handled differently? I understandf |21 2) is one,
220024 it sounds like this was a surprise to the School Board? [|22 21 BY NR. LOWE:
23.022 Correct. 23°22 -Q, ss there a typical way of handling donations?
24 23 Q. ‘No one had any prior knowledge of these books? 24 23° A. «= Yes and no. How is that for an answec?
25 «24 A, Correct. 35 24° Q, ‘That's a great one, Let's start with the yes part and
26 «25 «9, ~—s Did this change the way in which you handled the 2605 then we will move to the no, and then --
—— PAGE 42 PAGE 44
1 OC042 1 00044
2 1 acceptance process? 2 1 A. We have an organization called Friends of the Library.
j 2 A. We wanted to know what books these were that came j 2 And Friends of tae Library donate books that possibly
4 3 tnamounced, 4 } the librarians really want, a teacher wants, puts in a
5 4 9. And thea it ig pour understanding that members of the 5 4 request that maybe the Friends of the Library will
6 5 Board did have prior knowledge of the textbook Of Pandas | 6 5 donate, or books that the Friends of the Library find
1 6 and People? j 6 and think would be good. Those donations are handled in
8 7 A. That's correct. a 7 different ways.
3 8. And is it your understanding that some people on the 9 a If someone requests it -- that they donate it
10 § School Board had done some research or at least some 10 9 that is handled one way. Whereas if Friends of the
ib old understanding of what was included in Of Pandas and ll it Library finds a book and says this would be a good book,
2 6 People prior to the time at which they were donated? 12 00¢«L then someone would probably look at it and review it.
do ka Would you like me to repeat it? 3 12 9. Is the someone your understanding of the process?
144 «13 A. Are you saying more had a desire for the books? 44 «13 AL Phat's ust one particular donation. There are many
15 14 Q No, 2 am actually asking -- 15 14 different ones.
16 15 4. I am not sure what you are asking. 16 15 9. And as I understand it, actually I am not sure of this,
17-16 Q, You had said -- I am just trying to get a picture here, #17 16 was Of Pandas and People handled in any way through this
16 «17 AL Okay. «= T am trying to understand what you want. OD Friends of the Library group?
19 «18 «Q. «= You said that the books from Debuak Creation came 19 38 AL OMe, not at alt. I don't think they were ever
200 OY completely unannounced? 0 613 approached. i don't know if they were or not. 1
zi 20 As Yega, 21 20 shouidn't say that. I don’t know if they were.
22 23 «Q, =~ And that you, the members of the Board, were completely 22 22 0. And is it your understanding that Friends of the Library
430022 unaware of what these books were? 3 was approached in any way with the books that were
2 023 AL Yes, 2 23 conated by Dekunk Creation?
28 24 Q. You wanted some time te explore the aature of these 25 24 4. Net that I'm aware of,
26025 books? 246 «15 G. ~~ Wag the Scacol Board involved in the acceptance of the

 

 

 

 

 
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Sheila Harkins 4/12/05
——— SHEET 12 PAGE 45 —— PAGE 47

1 90045 1 00047

2 1 textbooks Of Pandas and People? d 1 MR. GILLEN: Objection to the form,

3 2 A. T doa't know that we were. 3 2 MR. LOWE: Can you explain?

4 3 9. Is it your understanding -- 4 3 MR. GILLEN: Sure. Has it been the practice in

5 4 A. I doa't know that any Board member had a problem with 5 4 the past assumes there is a practice.

6 5 the donation. Is that fair? 6 5 A. How about they have the ability to get the books and

7 6 Q. ‘That's fair. Was it your understanding though that the fF} 7 6 review them if they so desire?

a 7 administration made the decision to accept the donation? § | 4 ? BY MR. LOWE:

4 3 Farlier you said that the administration had accepted j 8 9, and for the time that you have been on the School Board,
10 § the Of Pandas and People. W § do you recall] the School Board taking the time to do
1 id Did the administration come to the School Board toil? 10 this?

12 il ask for information with respect to the books Of Pandas 112 11 A. ‘Yes, Numerous times.

13 12 and People? Again, I am asking for your understanding §f/13 12 9. When you say numerous --

M4 3 or your recollection. iu 13 A. I don't know how many different ones. It depends on

15 ld A. Tid the administration ever come? I am trying to think, @ |? 14 their particular interest.

16 15 Did the administration ever come you are asking? 15 15 Q, Fair enough. Could I just try -- I am going to try and
‘76 9. )~=0s Yes. Tam asking if the administration ever came to 1p ob get within a nurber, but I understand if you can't even
18 lV you, the School Board, at any time prior to the 1B VV fathom it. Would it be greater than 50?

13 18 acceptance of the donated texts to diseugs whether or 19 18 A. Idon't have an idea. I don't. The School Board ig

2 3 not it should be accepted? my 6 consistently changing. $0 every individual has

21 20 2%, Not to the Board as a whole, no. 21 20 different interests.

22 21 9. = Are you aware -- 22 21 9. Sure. Did you personally ever review books that were
23 22:«A. ~sONot that I'm aware of, 23 22 being donated prior to this occasion?

24 23 Q. Are you aware of the administration coming to any t740C2R OAL Yes,

2 24 committees within the Board with respect to donation of F125 24 Q. Do you recall how many times you may have?

26 25 Of Pandas and People? 26 «=o 25 A. ON, not too many.

—— PAGE 46 ___ PAGE 48

1 00046 1 00048

2 1 A. I den't recall. 2 iQ, Are you aware of the fact that Nr. Baksa called

3 2 Q. Bid the administration ever come to you for information | 3 2 various --

4 3 with respect to accepting the donation Of Pandas and 4 34. Who.

5 4 People? 5 49. 9 Mr. Baksa,

6 5 A. Not that I recall. 6 5 A. Baksa,

7 6 Q. With respect to the books donated by Debunk Creation, 7 6 9.  Baksa,

8 7 was the administration involved in the acceptance of Q 7 AL © Mike Baksa.

5 a those books to the best of your knowledge? 4 8 Q. You know these actors a lot better than me.
i0 § A.  Idon't know that they have been accepted. I think the {10 § A. We are all cohorts -- I didn't finish it.
lio only thing that has happened is the Board said they bad J /1] 10 . That be called various private Christian high schools to
2 ll ho problem with the books. 1 ll find out --

3 12 Q. Ween did the Board say they had no problem with these 3 12 A. Excuse me. I'm sorry, I wasn't paying attention,

i 13 books? 4 13° Q. As a former teacher, I am going to have to give you a
15 1d A. About a week ago, 1 i detention.

16 15 Q, Approximately how long after the books were received if /l6 15 2. Yes, I apologize.

l? 16 you recall -- approximately how long after the books VV 16 Q. The time out spot is right back there. Are you aware he
li 1} were received -- or do you recall when the books were 1a iV had called various private Christian high schools to

19 18 received? 19 id find out what biology textbook they used?

Z 19k. I think -- let's see -- it would be about three or four ff j20 19 No, I was not.

21 og weeks. I would say a month ago. Approximately a month fj |21 20 Were you aware before today's deposition that this

22 21 ago, we ware made aware the books were there, and I went@ 122 Zl occurred?

230022 personally and got the books. 23 22 I raad it in his deposition I think it was,

a4 239. And bas it been the practice in the past of the School 24 23 Did you at any time become aware of how the survey came
25 24 Board to make it known whether or not they objected or ff 25 a4 about?

26 a5 accapted hooks that were donated to the School District? (24 25 A. = T have ne clue,

 

 

 

 

 

 

 

 
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Sheila Harkins 4/12/05

 

 

 

 

 

 

 

 

 

—— SHEET 13 PAGE 493 —— PAGE 51
1 90989 1 00052
2 1 9. Have you discussed this survey with other members of of 2 1 Q. Do you remember who it was that actually put the
3 2 School Board? 3 2 newsletter together?
f 3 A. No, I haven't. 4 7 A. Wo, I don't know that for sure.
5 4 9. Have you discussed this survey with any member of the 5 4 Q. Okay. Did the Board actually vote to approve the
6 5 administration? 6 5 newsletter? Was there an actual vote?
7 6 a. No. 7 6 A. I don'é recall that there wag.
8 7 Q. I have a newsletter that we're actually going to take a | 2 7 @. And you earlier said that you personally reviewed the
j 8 few seconds to discuss. § 8 contents of this newsletter?
10 9 A, Okay, 10 9 Ah. Yes,
1 lt MR. LOWE: I am going to ask Vicki te mark this asf |11 i? Q. Do you remamber -- you say that the Board wanted a
12 IL an exhibit. 12 ll newsletter to be put out. Do you recall who it was on
13 12 BY MR. LOWE: 3 1 the Board that specifically spoke or brought up this
14-13. Q,~—s bats make this easy for you. This exhibit was uo idea of having a newsletter put out?
is 4 previously marked as P-19 in a deposition from it locks f/115 14 A, J believe it wag more so community people coming before
16 15 like March 9th, Aad if it is okay with you, Pat, we 16 15 the Board saying they would like more information.
17 16 will keep it the same. 16 Q. There is a frequently agked question section which you
18 1} MR. GILLEN: Certainly. 18 lV can see on the left-hand column of the first page?
918 MR. LOWE: I am giving a copy of this to Sheila 19 «18 A. Excuse me?
20 19 and Pat. 2 19 9, There is a frequently asked questions --
210 AL Okay. 21 0-20 A, Okay.
22 21 BY MR. LOWE: 22 21 9. => section on the left hand column of the first page,
23 22.9. Are you familiar with this newsletter -- let me give youll |23 22 and it continues to the top of the second page?
24 23 a second to take a look at it. 24 230A, Okay.
25d While you are looking at it for the record, I am —f {25 24 9, Do you know who developed the questions that are --
26 025 referring to it ag a newsletter. If that is okay with ffs 25 A. No, I don't.
—— PAGE 50 —— PAGE 52
1 00050 1 00052
2 1 you, I will continue to do so, 2 1 9. Bo you know who it was that developed the ansvers?
3 2 It is actually titled the Dover Area School 3 2 A. Mo, I dontt.
4 j District News, Biology Curriculum Update, and it is 4 } @. Was there any discussion with respect to the frequently
5 4 dated February of 2005? § 4 asked questions section?
5 5 A. Yes. 6 5 A. Mo, net at all that I'm aware of,
7 § Q So from this point forward, when I refer to the j 6 @. Are you familiar with anyone that may have been
8 7 newsletter -- 4 7 consulted with respect to the contents to the creation
4 § A. Da you want me to read it all? 9 8 of the frequently asked questions section? for
0 9 Q. You do not need to read it all. Are you familiar with fj /10 § instance, are you aware of whether or not the teachers
ll 10 this newsletter? ll 10 were consulted?
2 il] 4. Yes. 2 ll A. No. I'mnot sure. I don't xnow who would have done the
1 12 Q. Have you seen this before today? 3 LR consulting,
id 6G AL Yes, i 13 Q. Okay. Did you see any drafts of this -- did you see any
5 14 Q. Were you in any way involved in the creation of this 14 earlier drafts of this?
16 i newsletter? 16 15 a. Yes,
17-16 «A. Ss reviewed it prior to its going out. 17 = 16 «Q,)~—s Were they significantly changed; do you recall?
18 17. Do you recall who it was that was involved in the 18 17 A. ~~ No, not at all,
19 18 craation of this newsletter? Let me rephrase that. Do —§ {19 18 §. To the best of your memory, wera the earlier drafts the
a0 19 you recall who it was that actually created this 2) Y same as the draft that was eventually published?
21 20 newsletter, who presented it to you for review? 21 20 A, «Pretty mich, yes. A few words may be changed.
22 21 A. How about I know it was created because we wanted to 22 21 @, Do you have any recollection when it was?
220042 inform the community better. 23.22 A, ~—soTs know 7 changed something, but 3 don’t even know what
24 «©6243 «9. siDo you remember whose idea it was to create the 24 23 it was I changed,
25 24 newsletter? 25 24, ~—sDa you recall for what reason you made the change?
26 25 4. It was the Board's desire to produce something. 2605 Bod didn't like the way it read,

 

 

 

 
 

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—.. SHEET 14 PAGE 53 — PAGE 55
1 00053 1 90055
2 1 Q, $0 it was more of a grammatical or stylistic change than] | 2 1 @. I don't want you to guess. Is it your belief, your
3 2 it wag a substantive change? 3 2 opinion that Intelligent Design should be allowed to be
4 3 Yes. 4 3 more fully explored in the science classroom?
5 4 Do you recall anyone else making changes to the 5 4 HR. GILLEN: Gbjection to the form.
6 5 newsletter prior to its publication? 6 5 MR. LOWE: Could you explain?
7 6 A. T don't know that. 7 6 HR. GILLEN: You are assuming she has a belief or
8 7 Q. Okay. We are on to my last section. It is ny 8 7 opinion on that issue,
g 8 understanding of the Intelligent Design or rather of the] 9 8 BY MR. LOWE:
10 9 curriculum policy or the curriculum update that when 10 9 9. Do you have an cpinion as to whether Intelligent Design
ll i Intelligent Design is presented in class, students are J/ll 10 should be allowed to be fuliy explored in the science
woo not allowed to ask questions about Intelligent Design; #12 12 classroom?
13 12 is that correct? y lz A. We never got that far because the teachers made ug aware
lf 13 MR. GILLEN: Objection to the form. 4 13 they weren't educated in the area and preferred not to
5 od MR, LOWE: (Conld you explain? 5b i teach it. 80 that's where it stopped,
16 15 MR, GILLEN: Yeah. Did you say students aren't 1é 15 Q. Would you personally have a problem if Intelligent
16 allowed to ask or teachers aren't allowed to answer? 1 16 Design were fully explored in the science classroom --
BO MR. LOWE: I started students aren't allowed to fB}18 17 more fully explored?
19 18 ask. I am trying to get an understanding. 19 «18 AL sd never gave it consideration.
2 19 4. ‘That is really not something the Board deals with. 20 19 Q. If I were to ask you to give it consideration now, would
21 «20, sBY MR, LOWE: 21 ae you have an opinion elther way?
22 21 9. Is it your understanding that students -- let me go to ff {22 21 MR. GELLEN: Objection, Calle for speculation.
23 2 the teacher's end of it. That might be easier for you. {23 22 BY MR. LONE:
24 BB It is my understanding that teachers aren't 24 23-«Q, sd am asking for your opinion.
25 24 allowed to respond to any questions concerning 25 24 4, We are a standards driven district, It would have to be
26 25 Intelligent Design that may be brought up? 26 25 explored more fully how it would relate to the standards
——. PAGE 54 PAGE Sé
1 g2054 1 d0056
2 1 A, That 18 ay understanding. d 1 before I could form an opinion I think.
} 2 Q. Are you aware of any cther subject that is covered in 3 2 9. ‘That's fine. In your opinion, is not allowing questions
4 3 the Dover area curriculum in which students or rather inf}| 4 j with respect to a topic that is brought up or introduced
5 4 which teachers aren't allowed to answer questions? 5 4 in schools, is that consistent with your general
6 5 A. Mo, i'm not, 6 5 understanding of good educational practice?
7 6 Q. Can you explain why it is that Intelligent Design is 7 6 MY, GILLEN: Objection to the form.
8 7 treated differently than any other subject that is A 7 NR. LOWE: Could you explain?
9 8 introduced in school? 5 8 M2. GILLEN: Sure. I think you are assuming she
10 9 MR, GILLEN: Objection to the characterization of § 110 J has got an understanding of good educational practice
ll 610 the evidence. ll and how certain questions and certain subject matters
2 6 ME, LOWE: Can you explain? Bb ou should be dealt with according to standard educational
B 2 MR. GILLEN: Just she said she doesn't -- she is —f13 12 Bractice.
14 i} not aware of anything else. I am not sure there are any /1é 3 NR. LOWE: Fair enough. Are you instructing her
5 od other subject matters that teachers can't address, and {lS = 14 not to answer?
16 15 therefore -- 16 15 NR. GILLEN: No. I am saying -- read back the
176 MR, LOWE: Fair enough. 716 question, please. May I ask you to read back the
18 = 17_sBE MR, LOWE: 1 OT question?
19 «18 Q. «= Could you explain why it is -- according to your bo (The question, "In your oplmion, is not allowing
209 understanding, there's no other subjects in which the 20 13 questions with respect to a tegic Chat ig brought up or
210 teachers aren't allowed to address questions, 12 introduced in schools, is that consistent with your
20 2 With this in mind, could you explain why a1 general understanding of gocd educational practice," was
23.0CoR Intelligent Design is treated differently? 3 read by the reporter.)
24 23 «AL oT sthink it was an administrative decision, possibly 2444 BY MR. LOWE:
} 24 because of the lawsuit. 1 don't know. I only would be 125 24 0. Again, I believe I was clear im both instances that's
26 25 guessing then. 2685 your opinion in each instance.

 

 

 

 

 
 

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—— SHEET 15 PAGE 57 PAGE 59
1 00057 1 0G053
2 1 A. I have to give that some thought. 1 believe questions 2 1 Q. Did she discuss with you how she felt in tems of the
3 2 are good. Answers area't always necessary. 3 2 tone of this conversation, whether she felt he was
4 3 Q. ‘Taking another step back from questions aren't 4 j actively pushing or whether she felt ke was just asking?
5 4 necessarily necessary as you put it, with respect to 5 4 A. No. I think he was actively pushing,
6 5 Intelligent Design, is it your opinion that answers are | 6 5 Q. You say you think. What was it that gave you the
7 6 not necessary if a student were to ask questions? 7 6 impression that he was actively pushing?
8 7 MR, GILLEN; Gbiection to the form. Go ahead if 8 7 A. Just the way she told re.
5 8 you can answer it. j § Do you recall any specifics about how it was that she
10 94. 1 believe -- 10 j told you?
1] 10 BY BR. LOWS: ll 1) a No,
12 11 Q, Let me just ask a preliminary question, and maybe we cangli12 11 Q, Do you recall whether she told you that he said --
BL forego this line of questioning. Have you given any B OL questioned her in any way about her religious
14 thought really up until this time ag to the fact that M3 background?
15 i teachers are not allowed tc answer questions with 5 14 4. No. I think it just was can you give me this one? Will
1645 respect to Intelligent Design in the classroom? 6 8615 you vote for it for me?
17 16 No, I haven't, vv 16 Q. Do you reeall whether she told you how many times he had
1 «17 @. ~~ Has this ever been discussed between the members of the #718 = 1? this sort of discussion with her?
1918 Board to your knowledge? 1918 AL ONo. She didn't tell me that,
20 «19 ALON, I'm not aware if it was ever discussed. I am aware 20 19 Q. And do you recall how many times you and Ms. Yingling
210d that the administration made a statement of that, 21D had the discussion or discussions related to
22. 21 «Q. = Are you aware of anyone in the School Board that had anyf|22 21 Mr. Buckingham's conversations with her or conversation?
@3. od involvement in that aspect of this change? 23. a2-«AL sd don't remember. I don’t know that. I don't remember,
2d 23 A. No, T am rot. 24 23. «Q. = Okay. «Do you recall any other -- other than
25 24 Q. — Tf you can give me @ second, 1 think 1 may be done. 25 ad Mr. Buckingham trying to persuade Ms, Yingling, do you
26 25 A. Sure, 2 oS recall any other instances of a member of the Board
— PAGE 58 ——. PAGE 60
1 00058 |
2 1 ¢. Let me make sure 7 hit everything. Going back to the Hagen .
} , passing of the resolution. trying to persuade any other members of the Beard as to
‘ th Yes. 2 this resolution?
5 4). Did you try to persuade anyone on the School Board to 1. WR. LOK; I have no further questions.
6 5 pass this resolution? 5 A. Can 1 expand on that, Pat?
6 A. No. 6 MR. GILLEN: Do you want to talk to me for a
8 7 Q,  Ddd anyone on the School Board in your best recollection 1 second?
§ 8 try to persuade you to pass this resolution? § WR. LOWE: I can step out.
1 3 A, NO. 9 WR. GILLEN: We will step out. ‘Thanks.
11 dd Q. Are you aware of anyone on the School Board trying to 19 (A recess wag taken.
11 persuade other members of the School Board to pass this il APTER RECESS
3 la resolution? 12 MR. GILLEN: I Aave ne questions either.
lé 13 4 Yes, 13 [The deposition was concluded at 11:50 a.m.)
15 «14 =~ Could you explain what it is, who it is that you recall, i
6 45 or ate aware of trying to make others or trying to Lb
i 16 persuade others? la
14 1? A, Angie told me - Angie Yingling told me that Bill tried M
ls 18 to persuade her. 18
20-19 @.~sDid she tell you in what way Bil] -~ and I am assuming 4
21a by Bill, you mean B11] Buckingham? a
2 Yes. *
23. «22 «Q. ~—s Did she tel] you in any way how Nr. Buckingham tried to ~
2463 persuade her? "4
25 24 A, Lam trying to recall. dust that he would have liked -- .
2600S he would have liked her to vote for it, ~

 

 

 

 

 
 

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—— SHEET 16 PAGE 61

 

0061
COMMONWEALTH OF PENNSYLVANTA

1
2
3 COUNTY OF CUMBERLAND

4 1, Vicki L. Fox, Reporter and Netary Public in and
5 for the Commonwealth of Pennsylvania and County of
6
7
&
9

 

Cumberland, do hereby certify that the foregoing
testimony was taken before me at the time and place
hereinbefore set forth, and that it is the testimony of:
SHEILA HARKINS
19 J further certify that said witness was by me duly
41 sworn to testify the whole and complete truth in said
2 cause; that the testimony then given was reported by me
13 stenographically, and subsequently transcribed under my
14 direction and supervision; and that the foregoing is a
15 full, true and correct transcript of my original
16 siorthand notes.
7 I further certify that I am not counsel for nor
18 related to any of the parties to the foregoing causs,
19 nor employed by them or their attorneys, and am not
2 interested in the subject matter or cutcone thereof.
21 Dated at Camp Hill, Pennsylvania, this 26th day of
2 April, 2005.
23 __
24 Vicki L. Fox
25 Reporter - Notary Public

 

 

 
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Sheet 1

11:50 - conversation

 
 

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Sheet 4

objection - saying

 
 

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Sheet 5

saying - whatever
 

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whereas - yourself
